                                 Case 3:25-cv-01780-WHA                                  Document 1-1                      Filed 02/19/25                     Page 1 of 2
                                                                                  CIVIL COVER SHEET
JS-CAND 44 (Rev. 12/2024)

This civil cover sheet does not replace or supplement the filing and service of pleadings or other papers. The information on this form, approved in its original form by the
Judicial Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket. Instructions are on the reverse of this form.

I. PLAINTIFF(S)                                                                                            DEFENDANT(S)
American Federation of Government Employees, AFL-CIO, et al.                                               Charles Ezell, in his official capacity as Acting Director of the U.S. Office of Personnel Management, et
                                                                                                           al.
County of Residence of First Listed Plaintiff:                                                             County of Residence of First Listed Defendant:
Leave blank in cases where United States is plaintiff.   District of Columbia                              Use ONLY in cases where United States is plaintiff.

Attorney or Pro Se Litigant Information (Firm Name, Address, and Telephone Number)                         Defendant's Attorney's Name and Contact Information (if known)
 Eileen B. Goldsmith, ALTSHULER BERZON LLP, 177 Post Street, #300, San Francisco,
 CA 94108; (415) 421-7151
II.        BASIS OF JURISDICTION (Place an “X” in One Box Only)                                            III.     CAUSE OF ACTION
      1    U.S. Government Plaintiff         3     Federal Question                                        Cite the U.S. Statute under which you are filing: (Use jurisdictional statutes only for diversity)
                                                   (U.S. Government Not a Party)
      2    U.S. Government Defendant         4     Diversity
                                                                                                           5 U.S.C. § 702
                                                                                                           Brief description of case:

 IV.         NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                                 TORTS                                     FORFEITURE/PENALTY                       BANKRUPTCY                        OTHER STATUTES
   110 Insurance                          PERSONAL INJURY                    PERSONAL INJURY                 625 Drug Related Seizure of         422 Appeal 28 USC § 158              375 False Claims Act
   120 Marine                                                                                                    Property 21 USC § 881           423 Withdrawal 28 USC                376 Qui Tam (31 USC
                                        310 Airplane                       365 Personal Injury – Product
   130 Miller Act                                                              Liability                     690 Other                               § 157                                § 3729(a))
                                        315 Airplane Product Liability
   140 Negotiable Instrument                                               367 Health Care/                            LABOR                       PROPERTY RIGHTS                    400 State Reapportionment
                                        320 Assault, Libel & Slander
   150 Recovery of Overpayment                                                 Pharmaceutical Personal                                                                                410 Antitrust
                                        330 Federal Employers’                                               710 Fair Labor Standards Act        820 Copyrights
        & Enforcement of                                                       Injury Product Liability                                                                               430 Banks and Banking
                                            Liability                                                        720 Labor/Management                830 Patent
       Judgment                                                            368 Asbestos Personal Injury                                                                               450 Commerce
                                        340 Marine                                                               Relations                       835 Patent─Abbreviated New
   151 Medicare Act                                                            Product Liability
                                        345 Marine Product Liability                                         740 Railway Labor Act                   Drug Application                 460 Deportation
   152 Recovery of Defaulted                                               PERSONAL PROPERTY                                                                                          470 Racketeer Influenced &
                                        350 Motor Vehicle                                                    751 Family and Medical              840 Trademark
       Student Loans                                                       370 Other Fraud                                                                                                Corrupt Organizations
                                        355 Motor Vehicle Product                                                Leave Act                       880 Defend Trade Secrets
       (Excludes Veterans)                                                 371 Truth in Lending
                                            Liability                                                        790 Other Labor Litigation              Act of 2016                      480 Consumer Credit
   153 Recovery of                                                         380 Other Personal Property
                                        360 Other Personal Injury                                            791 Employee Retirement                                                  485 Telephone Consumer
       Overpayment                                                             Damage                                                             SOCIAL SECURITY
                                                                                                                 Income Security Act                                                      Protection Act
       of Veteran’s Benefits            362 Personal Injury -Medical                                                                             861 HIA (1395ff)
                                            Malpractice                    385 Property Damage Product                                                                                490 Cable/Sat TV
   160 Stockholders’ Suits                                                     Liability                          IMMIGRATION                    862 Black Lung (923)                 850 Securities/Commodities/
   190 Other Contract                                                                                        462 Naturalization                  863 DIWC/DIWW (405(g))                   Exchange
                                             CIVIL RIGHTS                  PRISONER PETITIONS
   195 Contract Product Liability                                                                                Application                     864 SSID Title XVI
                                        440 Other Civil Rights                                                                                                                        890 Other Statutory Actions
                                                                              HABEAS CORPUS                  465 Other Immigration
   196 Franchise                                                                                                                                 865 RSI (405(g))                     891 Agricultural Acts
                                        441 Voting                         463 Alien Detainee                    Actions
          REAL PROPERTY                 442 Employment                                                                                            FEDERAL TAX SUITS                   893 Environmental Matters
                                                                           510 Motions to Vacate
   210 Land Condemnation                443 Housing/                           Sentence                                                          870 Taxes (U.S. Plaintiff or         895 Freedom of Information
                                            Accommodations                                                                                           Defendant)                           Act
   220 Foreclosure                                                         530 General
                                        445 Amer. w/Disabilities–                                                                                871 IRS–Third Party                  896 Arbitration
   230 Rent Lease & Ejectment                                              535 Death Penalty
                                            Employment                                                                                               26 U.S.C. § 7609                 899 Administrative Procedure
   240 Torts to Land                                                                OTHER
                                        446 Amer. w/Disabilities–Other                                                                                                                    Act/Review or Appeal of
   245 Tort Product Liability                                              540 Mandamus & Other                                                                                           Agency Decision
   290 All Other Real Property          448 Education
                                                                           550 Civil Rights                                                                                           950 Constitutionality of State
                                                                           555 Prison Condition                                                                                           Statutes
                                                                           560 Civil Detainee–
                                                                               Conditions of
                                                                               Confinement

 V.          ORIGIN (Place an “X” in One Box Only)                                                                                                                                Multidistrict Litigation–Transfer
      Original Proceeding        Removed from State Court        Remanded from Appellate Court         Reinstated or Reopened         Transferred from Another District
                                                                                                                                                                                 Multidistrict Litigation–Direct File

 VI. FOR DIVERSITY CASES ONLY:                                                                VII.         REQUESTED IN COMPLAINT
     CITIZENSHIP OF PRINCIPAL PARTIES
          (Place an “X” in One Box for Plaintiff                                                   Check if the complaint contains a jury demand.
Plaintiff Defendant                                                                                Check if the complaint contains a monetary demand. Amount: $
                 Citizen of California
                                                                                                   Check if the complaint seeks class action status under Fed. R. Civ. P. 23.
                      Citizen of Another State
                                                                                                   Check if the complaint seeks a nationwide injunction or Administrative Procedure Act vacatur.
                      Citizen or Subject of a Foreign Country

                      Incorporated or Principal Place of Business In California
                      Incorporated and Principal Place of Business In Another State

                      Foreign Nation

 VIII. RELATED CASE(S) OR MDL CASE
             Provide case name(s), number(s), and presiding judge(s).

 IX.        DIVISIONAL ASSIGNMENT pursuant to Civil Local Rule 3-2
            (Place an “X” in One Box Only) SAN FRANCISCO/OAKLAND                                                              SAN JOSE                            EUREKA-MCKINLEYVILLE


 DATE 02/19/2025                                   SIGNATURE OF ATTORNEY OR PRO SE LITIGANT /s/Eileen B. Goldsmith
                      Case 3:25-cv-01780-WHA
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                                                     COMPLETING THE CIVIL COVER SHEET

Complete the form as follows:
 I.    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use the
       full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the
       official, giving both name and title.
       County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
       time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. In land
       condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.
       Attorney/Pro Se Litigant Information. Enter the firm name, address, telephone number, and email for attorney of record or pro se litigant. If there
       are several individuals, list them on an attachment.

 II.   Jurisdiction. Under Federal Rule of Civil Procedure 8(a), pleadings must establish the basis of jurisdiction. If multiple bases for jurisdiction apply,
       prioritize them in the order listed:
       (1) United States plaintiff. Jurisdiction based on 28 U.S.C. §§ 1345 and 1348 for suits filed by the United States, its agencies or officers.
       (2) United States defendant. Applies when the United States, its agencies, or officers are defendants.
       (3) Federal question. Select this option when jurisdiction is based on 28 U.S.C. § 1331 for cases involving the U.S. Constitution, its amendments,
           federal laws, or treaties (but use choices 1 or 2 if the United States is a party).
       (4) Diversity of citizenship. Select this option when jurisdiction is based on 28 U.S.C. § 1332 for cases between citizens of different states and
           complete Section VI to specify the parties’ citizenship. Note: Federal question jurisdiction takes precedence over diversity jurisdiction.
 III. Cause of Action. Enter the statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
      unless jurisdiction is based on diversity. Example: U.S. Civil Statute: 47 U.S.C. § 553. Brief Description: Unauthorized reception of cable service.
 IV. Nature of Suit. Check one of the boxes. If the case fits more than one nature of suit, select the most definitive or predominant.
 V.    Origin. Check one of the boxes:
       (1) Original Proceedings. Cases originating in the United States district courts.
       (2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C. § 1441. When the
           petition for removal is granted, check this box.
       (3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action, using the date of remand as the
           filing date.
       (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
       (5) Transferred from Another District. Check this box for cases transferred under Title 28 U.S.C. § 1404(a). Do not use this for within-district
           transfers or multidistrict litigation (MDL) transfers.
       (6) Multidistrict Litigation Transfer. Check this box when a multidistrict (MDL) case is transferred into the district under authority of Title 28
           U.S.C. § 1407.
       (7) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
 VI. Residence (citizenship) of Principal Parties. Mark for each principal party only if jurisdiction is based on diversity of citizenship.
 VII. Requested in Complaint.
       (1) Jury demand. Check this box if plaintiff's complaint demanded a jury trial.
       (2) Monetary demand. For cases demanding monetary relief, check this box and enter the actual dollar amount being demanded.
       (3) Class action. Check this box if plaintiff is filing a class action under Federal Rule of Civil Procedure 23.
       (4) Nationwide injunction. Check this box if plaintiff is seeking a nationwide injunction or nationwide vacatur pursuant to the Administrative
           Procedures Act.
 VIII.   Related Cases. If there are related pending case(s), provide the case name(s) and number(s) and the name(s) of the presiding judge(s). If a short-
     form MDL complaint is being filed, furnish the MDL case name and number.
 IX. Divisional Assignment. Identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the events or
     omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.” Note that
     case assignment is made without regard for division in the following case types: Property Rights (Patent, Trademark and Copyright), Prisoner
     Petitions, Securities Class Actions, Anti-Trust, Bankruptcy, Social Security, and Tax.
